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                    EXHIBIT H
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                   ORAL ARGUMENT HAS NOT YET BEEN SCHEDULED

                                        In The

      United States Court of Appeals
                      For The District of Columbia Circuit


                         MICHALI TOUMAZOU, et al.,
                                                           Plaintiffs – Appellants,




                                           v.




       TURKISH REPUBLIC OF NORTHERN CYPRUS, et al.,
                                                           Defendants– Appellees.



      ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF COLUMBIA



                                BRIEF OF APPELLANTS
       \




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       CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

         The following information is provided pursuant to the Court’s Order and

  D.C. Circuit Rule 28(a)(1):

  A.     Parties, Intervenors and Amici

         The following parties were named in the district court:

         Plaintiffs/Appellants: Michali Toumazou, Nicolas Kantzilaris and Maroulla

  Tompazou. As well as the plaintiffs identified by the district court in its Orders

  now on appeal or in the related cases that will be identified and provided by

  separate cover.

         Defendants/appellees: Turkish Republic of Northern Cyprus, HSBC

  Holdings PLC, HSBC Bank USA, N.A, and Mehmet Ali Talat; and all defendants

  named in the related cases otherwise identified.

  B.     Rulings Under Review.

         The rulings under review are all Orders of the U.S. District Court For the

  District of Columbia (Friedman, J.), in case no. 1:09---­‐1967 including but not

  limited to Orders entered on September 30 2014, October 9, 2014, granting

  Defendant---­‐Appellee Turkish Republic of Northern Cyprus’ motion to dismiss for

  lack of personal jurisdiction, and granting Defendants---­‐ Appellees HSBC

  Holdings PLC and HSBC Bank USA, N.A.’s motion to dismiss for failure to state




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  a claim; and the Orders in the related cases dismissed on October 31, 2014 as a

  result of similar issues involved.

  C.    Related cases.

        The following are related cases identified by the court in it Orders dated

  September 30, 2014 and/or October 9, 2014 that is being appealed; District Court

  for the District of Columbia: Fiouris, et al. v. Turkish Cypriot Community, et al.,

  Case No. 10---­‐ 1225, dismissed October 31, 2014 and Latchford, et al. v. Turkish

  Republic of Northern Cyprus, et al., Case No. 12---­‐0846, dismissed October 31,

  2014. This case has not previously been before this Court or any court other than

  the U.S. District Court for the District of Columbia.

        Respectfully submitted,

        /s/Athan T. Tsimpedes




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                    A.       Personal Jurisdiction Over the TRNC is based on Non
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                             published website materials that are based on or relate to
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                         GLOSSARY OF ABBREVIATIONS


  Affid.                 Affidavit

  BSA                    Bank Secrecy Act

  DC                     District of Columbia

  D.I.                   Docket number

  Dism.                  Dismiss

  Ex./Exs.               Exhibit/Exhibits

  FRCP                   Federal Rule of Civil Procedure

  HSBC/                  An association of HSBC USA, N.A., HSBC Holdings,
  HSBC Group             PLC and other HSBC banks assisting the TRNC.

  HSBC Bank A.S.         HSBC A.S.

  HSBC USA               HSBC Bank USA, N.A.

  Mot.                   Motion

  ROC                    Republic of Cyprus

  SAC                    Second Amended Complaint

  TAC                    Proposed Third Amended Complaint

  TRNC                   Turkish Republic of Northern Cyprus, an Unincorporated
                         Association of Organized Crime.

  UK                     United Kingdom

  USA                    United States of America




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                                                 STATEMENT OF SUBJECT MATTER AND
                                                      APPELLATE JURISDICTION

                   The District Court of the District of Columbia had jurisdiction under DC

  Code Sec. 13-423 and 28 USC 1331, 1332, 13301 and 18 U.S.C. §1964.

                   Appellate Jurisdiction from the district court’s order resides in 28 USC

  1291. The district court Order was entered on September 29, 2014 and the

  memorandum opinion entered on October 9, 2014 on civil action No.: 09-1967

  with related cases, Fiouris, et al v. TRNC et al., case no. 10-1225 and Latchford, et

  al v. TRNC et al., case no. 12-00846 dismissed based on the same order.

  Appellants timely filed their appeal on October 29, 2014.

                                                                     STATEMENT OF THE ISSUES

                   1.                Whether the US District Court for the District for Columbia erred in

  granting Appellee TRNC’s Motion to Dismiss due to lack of personal jurisdiction,

  without an evidentiary hearing and without jurisdictional discovery, particularly

  where the internet website, its content, and other commercial acts, including

  employment, banking transactions, bank accounts and handling customers, were

  alleged, without the opportunity for Appellants’ and the Class to cross examine the

  motives and circumstances.
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  1	  The	  Republic	  of	  Turkey	  was	  to	  be	  rejoined	  as	  a	  defendant	  in	  the	  proposed	  3rd	  Amended	  

  Complaint.	  	  
  2	  	  Latchford, et al v. TRNC et al., case no. 12-00846, related case.	  

  3	  D.I.	  followed	  by	  a	  number	  indicates	  the	  docket	  number	  assigned	  to	  the	  

  document	  on	  the	  District	  Court’s	  docket	  sheet.	  If	  a	  document	  has	  an	  

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                    2.                 Whether the US District Court for the District for Columbia erred in

  granting Appellees HSBCs’, Motion to Dismiss due to failure to state a cause of

  action without an evidentiary hearing and without jurisdictional discovery,

  particularly where TRNC and HSBC are co-conspirators and are in exclusive

  possession and control of concealed non-public information; and where they were

  found to violate the rights of the Plaintiffs’ and the Class in the same fraudulent

  property scheme in the United Kingdom2.

                                                                    STATUTES AND REGULATIONS

  	                The	  relevant	  statute	  and	  regulations	  are	  identified	  in	  the	  table	  of	  contents,	  within	  

  this	  brief	  or	  will	  be	  included	  in	  the	  deferred	  joint	  appendix.	  




                                                                           STATEMENT OF THE CASE

                    The Original Complaint was filed On October 19, 2009 and amended on

  February 26, 2010, D.I. 13 and 5. A second amended Complaint was filed on

  March 19, 2010 D.I. 14 (Second Am. Compl.). The plaintiffs4 filed a proposed

  class action alleging that the TRNC unlawfully interfere with their property, real

  and personal, in northern areas of the Republic of Cyprus (ROC), JA7, JA16,
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  2	  	  Latchford, et al v. TRNC et al., case no. 12-00846, related case.	  

  3	  D.I.	  followed	  by	  a	  number	  indicates	  the	  docket	  number	  assigned	  to	  the	  

  document	  on	  the	  District	  Court’s	  docket	  sheet.	  If	  a	  document	  has	  an	  
  attachment	  or	  exhibit,	  it	  is	  designated	  by	  a	  hyphen.	  
  4	  Consists	  of	  citizens	  and	  residents	  of	  the	  USA,	  Cyprus,	  UK,	  Greece	  and	  South	  

  Africa.	  

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  JA19, JA20, JA25 [D.I. 14], ¶¶ 10-14, 18-20, and has masterminded a broad

  scheme to profit from the sale of such properties “in the United States, Europe and

  around the world with the aid, assistance and support of HSBC5 Group, through

  bank transactions using TRNC bank accounts in the US that are cleared by the

  correspondent HSBC USA, NA6 with its principal offices located in New York .”

  JA240, JA270, JA283, JA 25 [D.I. 14 ¶¶ 45-60]. Plaintiffs allege that the HSBC

  defendants “do business with the TRNC through transactions in the illegally

  occupied areas in the north of the ROC and in the United States and knowingly aid,

  assist, support and benefit from the transaction of the fraudulent property scheme

  of the TRNC, JA7, JA16-25, JA240, JA248, JA270, JA25 [D.I. 14] ¶¶ 2,3,8,9,10,

  17-21, 31, 34, 35, 39-42, 45-60, 64-71; JA 179 [D.I. 30] ¶¶ 51-56, 83-111, 133-

  136. This lawsuit was brought as a result of the interference and deprivation of the

  rights to property belonging to the Plaintiffs and the Class by TRNC from at least

  1983 and continue to do so to the present. Id. TRNC publishes and advertises

  properties belonging to displaced Greek Cypriots consisting of the plaintiffs and

  the Class for sale at its office in the District of Columbia, which a has a dedicated



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  5	  HSBC	  shall	  mean	  and	  refer	  to	  defendant	  HSBC	  Group	  which	  term	  is	  used	  to	  

  describe	  an	  association	  of	  subsidiaries	  and/or	  affiliates	  of	  defendants	  HSBC	  
  Holdings,	  PLC	  and/or	  HSBC	  USA,	  NA.	  
  6	  HSBC	  USA,	  N.A.	  is	  referred	  to	  as	  HSBC	  USA	  and	  is	  headquartered	  in	  McLean,	  

  Virginia.	  

                                                                                                                                                                                                                                     3
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  website, trncwashdc.org, which was created in or around the District of Columbia

  for the TRNC office in the District of Columbia. Id.

                                                        Specifically, the plaintiffs7 and the Class have brought claims for: (1)

  interference and denial of property rights including access, use and enjoyment of

  property; (2) violation of international and customary law; (3) civil conspiracy; (4)

  aiding and abetting; (5) unjust enrichment; (6) violation of the Lanham Act; (7)

  intentional interference with property rights; and (8) and accounting. JA25 [D.I.14]

  ¶¶ 85-134.

                                                        Plaintiffs’ proposed Third Amended Complaint (“TAC”) sought to join

  additional plaintiffs for claims based on the same conduct, transactions and

  occurrences alleged against Defendant TRNC. JA 179 [D.I. 29, 30] (Mot for

  Leave to Amend) Compare Complaint, ¶¶ 13-55 and Third Amended Complaint,

  ¶¶ 15-112). The TAC also joins HSBC Holdings, PLC and HSBC Bank U.S.A.,

  N.A. based on their active involvement in the conduct, transactions and

  occurrences alleged against Defendant. The TAC also re-joins the Republic of

  Turkey based on that nation’s culpability in the mass evictions and for the

  continuing restraints on the Plaintiffs’ use and enjoyment of their properties in

  northern Cyprus. The Plaintiffs’ claims against Turkey arise from the conduct,

  transactions and occurrences alleged against Defendant TRNC. The Plaintiffs
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  7	  When	  referring	  to	  the	  Plaintiffs	  or	  Appellants	  herein	  it	  shall	  also	  include	  the	  

  Class	  members.	  

                                                                                                                                                                                                                                     4
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  allege a “commercial activity” exception to Turkey’s immunity from suit under the

  Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602, et seq.

                                                        The TAC alleges additional claims in law and equity: common law fraud

  (Count III, JA179 [D.I. 30], ¶¶ 127-132); Conspiracy (Count IV, JA179 [D.I. 30],

  ¶¶ 132-136); Lanham Act violations (Count VII, JA 179 [D.I. 30], ¶¶ 150-154);

  intentional interference with prospective business activity/contract (Count VIII,

  JA179 [D.I. 30], ¶¶ 155-158); trespass (Counts IX and X, JA179 [D.I. 30] ¶¶ 159-

  163); and an accounting (Count XI, JA179 D.I. ¶¶ 164-168).

                                                                                                                                                                                                 SUMMARY OF THE ARGUMENT


                                                        The TRNC8 through an organized federation of conspirators, including the

  HSBC defendants, are actively engaged in advertising, marketing, financing,

  encumbering, developing, renting, leasing or selling of property belonging to

  displaced Greek Cypriots. Such transactions are based on fraudulent title, falsely

  and illegally issued, or represented as owned, by the TRNC to the detriment of the

  Plaintiffs and the Classes (hereinafter referred to as the “Illegal Commercial

  Enterprise” or “Fraudulent Property Scheme), JA7-23, JA240, JA248, JA270,

  JA271, JA283, JA179 [D.I. 30] ¶¶ 36, 40, 41, 42,43, 44, 45, 47, 48, 49,50, 51-57,

  61-75, 81-145. The Fraudulent Property Scheme is aided and supported by the co-
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  8	  The	  United	  States	  does	  not	  recognize	  a	  “Turkish	  Republic	  of	  Northern	  

  Cyprus”	  or	  “TRNC”	  as	  a	  sovereign	  state	  and	  has	  quite	  the	  contrary	  condemned	  
  it	  	  See	  UN	  Sec.	  Counsel.	  Res.	  541	  (1983).	  

                                                                                                                                                                                                                                     5
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  conspirator HSBC defendants, which has assisted the “TRNC” as co-conspirators

  in laundering money obtained from its illegal operations by bank transactions in

  and out of the northern part of the Republic of Cyprus9 related to the fraudulent

  property scheme and into the US banking system and to the offices of the TRNC

  located in Washington DC through HSBC USA which is the correspondent bank of

  both HSBC Holdings PLC and HSBC A.S operating in the occupied areas under

  the control of the TRNC, JA270, JA179 [D.I. 29, 30] (TAC) ¶¶ 36, 40, 41, 42,43,

  44, 45, 47, 48, 49,50, 51-57, 61-75, 81-145.


                                                                                                                                                                                                                                     ARGUMENT

  I.                                                    WHETHER THE US DISTRICT COURT FOR THE DISTRICT OF
                                                        COLUMBIA ERRED IN GRANTING TRNC’s MOTION TO
                                                        DISMISS DUE TO LACK OF PERSONAL JURISDICTION

                                                        Appellants’ will show the required minimum contacts exist to establish

  personal jurisdiction over the TRNC.

  STANDARD OF REVIEW

                                                        A.                                                     PERSONAL JURISDICTION

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  9
    When using the term “Republic of Cyprus” it shall also mean and be
  interchangeable with “Cyprus.” Likewise, reference to the “north”, “northern
  part”, “occupied north”, “occupied territories” or “occupied areas” of Cyprus shall
  mean the areas recognized to be within the jurisdiction of the Republic of Cyprus
  as the only recognized State and Government on the island despite not having
  effective control over these areas that are occupied illegally by the Republic of
  Turkey’s military, agents and authorities including those operating under the so
  called “TRNC” trade name or association.

                                                                                                                                                                                                                                        6
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                                                        When personal jurisdiction is challenged under Rule 12(b)(2), the plaintiff

  bears the burden of establishing a factual basis for asserting personal jurisdiction

  over a defendant. See Crane v. N.Y. Zoological Soc’y, 894 F.2d 454, 456 (D.C. Cir.

  1990). Plaintiffs “can satisfy that burden with a prima facie showing.’” See Mwani

  v. bin Laden, 417 F.3d 1, 7 (D.C. Cir. 2005) (quoting Edmond v. United States

  Postal Serv. Gen. Counsel, 949 F.2d 415, 424 (D.C. Cir. 1991)). To do so, the

  plaintiff cannot rest on bare allegations or conclusory statements but “must allege

  specific acts connecting [the] defendant with the forum.” See Second Amendment

  Found v. U.S. Conference of Mayors, 274 F.3d 521, 524 (D.C. Cir. 2001) (internal

  quotation marks omitted). “To make such a showing, the plaintiff is not required to

  adduce evidence that meets the standards of admissibility reserved for summary

  judgment and trial[;]” but rather, the plaintiffs may “rest [their] arguments on the

  pleadings, ‘bolstered by such affidavits and other written materials as [they] can

  otherwise obtain10.’” See Urban Inst. v. FINCON Servs., 681 F. Supp. 2d 41, 44

  (D.D.C. 2010) (quoting Mwani v. bin Laden, 417 F.3d 1, 7 (D.C. Cir. 2005).




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  10	  The	  hostility	  towards	  Greek	  Cypriots	  consisting	  of	  the	  Plaintiffs	  and	  the	  

  Class	  by	  Turkish	  or	  TRNC	  authorities	  has	  been	  documented	  in	  the	  US	  Court	  of	  
  Appeals.	  See	  Autocephalous	  Greek	  Orthodox	  Church	  of	  Cyprus,	  et	  al	  v.	  Goldberg,	  
  et	  al,	  917	  F.2d	  278	  (7th	  Cir.	  1990)	  (the	  court	  rightfully	  resolved	  the	  title	  issue	  
  in	  favor	  of	  the	  Church	  of	  Cyprus	  over	  the	  TRNC	  which	  is	  the	  same	  issue	  
  present	  on	  this	  appeal).	  

                                                                                                                                                                                                                                     7
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                                                        There are two types of personal jurisdiction that a court can exercise, general

  jurisdiction and specific jurisdiction. Both11 basis of personal jurisdiction were at

  issue before the district court. Due to changes in the law occurring during the

  pendency of the litigation, specific jurisdiction is the sole focus of this appeal12.

                                                        1. Specific Jurisdiction Under The District of Columbia Long Arm
                                                           Statute, § 13-423.


                                                        To establish specific personal jurisdiction over a non-resident, the court must

  first examine whether jurisdiction is applicable under the state's long-arm statute

  and then determine whether a finding of jurisdiction satisfies the constitutional

  requirements of due process.” See GTE New Media Servs. v. BellSouth Corp., 199
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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     A court may assert jurisdiction over a foreign defendant “to hear any and all
  claims against [it]’ only when the corporation’s affiliations with the State in which
  suit is brought are so constant and pervasive ‘as to render [it] essentially at home in
  the forum state.’” Daimler AG v. Bauman, 134 S. Ct. 746, 751 (2014) (quoting
  Goodyear Dunlop Tire Operations, S.A. v. Brown, 131 S. Ct. 2846, 2851 (2011));
  see also Goodyear, 131 S. Ct. at 2853 (quoting International Shoe v. Washington,
  326 U.S. 310, 318 (1945) (General jurisdiction consists of ‘‘instances in which the
  continuous corporate operations within a state [are] so substantial and of such a
  nature as to justify suit against it on causes of action arising from dealings entirely
  distinct from those activities.’’)
  12
     Plaintiffs were not provided any discovery for any defendants and note the court
  in Daimler AG v. Bauman, 134. S. Ct. 746 (2014) provide jurisdictional discovery
  to the plaintiff prior to dismissal. Plaintiffs’ direct the court’s attention to the
  Certificate of Occupancy which states there is a change in ownership in the realty
  used as office space operating as the TRNC offices used to employ and direct
  activities unrelated to US Government contacts as further stated herein. Owning
  real property (or bank accounts through HSBC in Washington DC) is a basis for
  exercising general jurisdiction, through proxies like the representatives Hilmi Akil,
  Osman Ertug, and others named and unnamed individuals identified in this brief
  and/or the Joint Appendix.

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  F.3d 1343, 1347 (D.C. Cir. 2000). The District of Columbia Long Arm Statute, §

  13-423, and its relevant sections applicable to the TRNC, provides that a District of

  Columbia court may exercise personal jurisdiction over a person, who acts directly

  or by an agent, as to a claim for relief arising from the person's -- (1) transacting

  any business in the District of Columbia; … (3) causing tortious injury in the

  District of Columbia by an act or omission in the District of Columbia; (4) causing

  tortious injury in the District of Columbia by an act or omission outside the District

  of Columbia if he regularly does or solicits business, engages in any other

  persistent course of conduct, or derives substantial revenue from goods used or

  consumed, or services rendered, in the District of Columbia; (5) having an interest

  in, using, or possessing real property in the District of Columbia.

         “[W]hen ruling upon personal jurisdiction without an evidentiary hearing, a

  court ordinarily demands only a prima facie showing of jurisdiction by the

  plaintiffs.” See Mwani v. bin Laden, 368 U.S. App. D.C. 1, 6, 417 F.3d 1, 6 (2005).

  In addition, the benefits of jurisdictional discovery denied to Plaintiffs’ by the

  district court was provided by the court in Daimler prior to dismissal.

        Under D.C. Code § 13-423(a)(1) specific jurisdiction “requires a nexus

  between a foreign corporation’s particular contact with the District of Columbia

  and the claim that the plaintiff asserts.” Id. (citing Novak-Canzeri v. Saud, 864 F.

  Supp. 203, 206 (D.D.C. 1994)). “[The] ‘transacting any business’ clause has been



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  interpreted to provide jurisdiction to the full extent allowed by the Due Process

  Clause.” See United States v. Ferrara, 54 F.3d 825, 828 (D.C. Cir. 1995); see also

  Brunson v. Kalil & Co., 404 F. Supp. 2d 221, 237 (D.D.C. 2005). “Transacting

  business” therefore requires that the TRNC “purposefully avail[ed] itself of the

  privilege of conducting business within the forum state” and that it has established

  sufficient minimum contacts in the forum state so that it “should reasonably

  anticipate being haled into court there.” See Burger King Corp. v. Rudzewicz, 471

  U.S. 462, 474-75 (1985); see Atlantigas Corp. v. Nisource, Inc., 290 F. Supp. 2d

  34, 43 (D.D.C. 2003).

        The TRNC caused tortious injury in the District of Columbia by an act or

  omission in the District of Columbia when it falsely portrayed the property

  belonging to the Plaintiffs and the Class as being owned by TRNC, or as the

  TRNC having power to issue title to the property, all the while denying plaintiffs

  their property rights on the basis of race or ethnicity. See D.C. Code § 13-

  423(a)(3).

        Under D.C. Code § 13-423(a)(4), the TRNC has sufficient minimum

  contacts if it regularly does or solicits business, engages in any other persistent

  course of conduct, or derives substantial revenue from goods used or consumed, or

  services rendered, in the District of Columbia. The TRNC has admitted that it

  prints and distributes tourism maps with commercial aspects to its



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  customers/visitors in the District of Columbia. These benefit the TRNC and harm

  the rights of the Plaintiffs and the Class. By creating the content and maintaining

  its DC website directing traffic to the TRNC office in the District of Columbia, and

  the fact that customer visitors do visit the office and are provided maps for tourism

  purposes, demonstrates that TRNC regularly does or solicits business, engages in

  any other persistent course, JA7, JA74, JA126, JA152, JA154, JA158, JA240,

  JA179 [D.I., 30] ¶¶ In addition, the HSBC banking transactions or property

  purchase inquiries made to the TRNC’s office in the District of Columbia also

  suggest that TRNC may derive substantial revenue from services rendered in D.C.

  Without discovery, Plaintiffs’ have been at a disadvantage due to the TRNC’s lack

  of transparency. Meanwhile, the TRNC is allowed to submit substantial affidavits

  which interestingly never deny the ownership or maintenance of HSBC bank

  accounts in the District of Columbia, nor the conspiratorial relationship between

  the TRNC and the HSBC defendants regarding banking transactions involving the

  properties of the Plaintiffs and the Class, JA179 [D.I. 30] ¶¶ A discovery

  deposition of one affiant, Hilmi Akil, would have yielded answers regarding the

  HSBC financial transactions occurring or involving the US and the District of

  Columbia to support jurisdiction, but jurisdictional discovery was denied.

        The TRNC uses, possesses and/or has an interest in real property in the

  District of Columbia D.C. Code § 13-423(a)(5). The TRNC leases, if not owns, the



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  office space where it is located in D.C. and from where it operates its website. Its

  functions are not related to federal government contacts. It promotes tourism and

  provides visitors to the DC office with maps to identify for sale properties, which

  actually belong to the plaintiffs’ and the Class, JA179, JA74, JA126, JA152,

  JA154, JA158 [D.I. 30] TAC ¶¶, Akil Affid.

                                                        The TRNC intends to deceive the public of the District of Columbia, US and

  throughout the world, while continuing to harm the property rights of the Plaintiffs

  and the Classes. An example was the advertising and marketing of the U.S.

  singer/actress Jennifer Lopez by the TRNC to host the grand opening of the Cratos

  hotel and casino that unbeknownst to Ms. Lopez was erected on property

  belonging to displaced Greek Cypriots (who would be a members of the Class) in

  this matter. Ms. Lopez cancelled her performance after being informed of the

  history of the TRNC and TURKEY towards civilians [Greek Cypriots consisting of

  the Plaintiffs and the Class] of the Republic of Cyprus, and stated she “would

  never knowingly support any state, country, institution or regime that was

  associated with any form of human rights abuse13.” JA179 [D.I. 30] at 91(TAC-

  Nature of the Case)




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  13
    (See http://www.hurriyetdailynews.com/n.php?n=jennifer-lopez-scraps-cyprus-
  concert-after-pressure-report-2010-07-09).

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                                                        A.                                                     Personal Jurisdiction15 Over the TRNC is based on Non US
                                                                                                               Government contacts, its Agent’s Affidavit16 and published
                                                                                                               website materials that are based on or relate to the Plaintiffs’
                                                                                                               cause of action, in that the property belonging to the Plaintiffs’
                                                                                                               and the Class are falsely advertised as abandoned or made
                                                                                                               available for purchase through TRNC titles.

                                                        The TRNC, through the use of alleged 3rd persons17 and the HSBC Group

  banking system, harms the rights of US citizens and others consisting of the

  Plaintiffs’ and the Class arising or relating to contacts in the District of Columbia

  or the US. The “TRNC” through its agents are pervasive, systematic and

  continuous in the District of Columbia and the United States since the 1990’s that

  includes references to it as an embassy, government, “defacto” state or republic,

  that include seeking litigation in federal court in 1989 on property regarding the

  same subject matter in this case, including appeal in 1990 to the US Court of

  Appeals for the 7th Circuit, hiring attorneys, banking transactions with HSBC,

  website development for a DC based website unrelated to US Government

  contacts, hiring employees, meeting with individuals and members of the public

  which included individuals seeking to buy property at the DC office, advertising
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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       The TRNC’s Motion to Amend the Caption and its Reply before this court is a
  waiver of or consent to personal jurisdiction as it goes beyond the limited
  appearance to challenge personal jurisdiction. By making arguments about how it
  is perceived or prejudiced by the moniker imputed to it in the District of Columbia.
  16	  Hilmi	  Akil.	  
  17
       Including but not limited to HSBC Bank A.S and the corresponding HSBC USA
  who are obligated under the Banking Secrecy Act to perform due diligence and
  identify money laundering operations but have failed to do so regarding the
  activities of the TRNC.

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  property, Tips to buy property, how to buy property, explaining property laws,

  including property belonging to displaced Greek Cypriots and a false history that

  the properties were abandoned that is portrayed on the trncwashdc.org website

  directing members of the public to the DC office. JA7, JA16-23, JA240, JA283,

  JA25 [D.I. 14] ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42, 45-60, 64-71; [D.I. 20, 21-

  23] (Opp. to Mot to Dism. Exhibits 1-20) – 1-20; D.I. 15-2 (Mot to Dism., Ex. 2

  Hilmi Akil Affidavit), D.I. 26-1 (Hilmi Akil Supplemental Affid.). Mr. Akil

  admits in his affidavit to publishing articles in the Washington Times which is a

  local DC newspaper directed to residents of the District of Columbia.

                                                        The “TRNC” through its agents has engaged in the following, unrelated to

  U.S. Government contacts and activities18 in the District of Columbia:

                                                        1)                                                                      Hiring employees from the US and abroad as representatives or staff
                                                                                                                                to the District of Columbia , leasing office space19, hiring and
                                                                                                                                paying lawyers, letterhead, interactive website, phone, email,
                                                                                                                                facsimile, publishing and distributing maps (with commercial
                                                                                                                                information including hotels) and a DC postal address, writing
                                                                                                                                letters to DC newspapers, speaking at universities , leasing or owing
                                                                                                                                offices space, appointing TRNC representative who are US business
                                                                                                                                owners. JA74, JA126, JA152, JA154, JA158, JA240, JA248,
                                                                                                                                JA270, JA271, JA283 [D.I. 46-1, 11-12], (Opp. to Mot to Dism.
                                                                                                                                Exs. 1, 11-12).



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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       JA25 [D.I. 14] ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42, 45-60, 64-71; D.I. 14 -2,
  4, 5-8, JA179 [D.I. 30] ¶¶ 36, 40, 41, 42, 43, 44, 45, 47, 48, 49,50, 51-57, 61-145
  19	  and	  possibly	  owning	  property	  as	  stated	  in	  the	  Certificate	  of	  Occupancy	  in	  

  the	  District	  of	  Columbia.	  JA179	  [D.I.	  30]	  at	  115.	  

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         2)     Involved in the Small Business Administration’s “Entrepreneur”
                conference material of April 2006. D.I. 46- 9 (Pls’ Memo. Opp.,
                Ex. 9- Entrepreneur- pp, 60 and 66 in fn. 10, 16.

         3)     Maintains banking accounts and conducts transactions with HSBC
                and HSBC USA and its network of institutions under its name and
                logo that assist in marketing, sale, advertisement, financing, of
                properties belonging to the Plaintiffs and the Class, JA270, JA240
                JA25 [D.I. 14] ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42, 45-60, 64-71.	  
         	  
         4)     Maintained an operated a website directing members of the public to
                its office in Washington DC with an internet address of
                www.trncwashdc.org clearly identifying itself in the District of
                Columbia since the 1990’s as admitted by the Defendant, [D.I. 20],
                21-23 (Opp. to Mot to Dism. Exhibits 1-20) – 1-20; JA126, JA 74
                [D.I. 15-2] (Mot to Dism., Ex. 2 Hilmi Akil Affidavit), JA158 [D.I.
                26-10 (Hilmi Akil Supplemental Affid.

         5)     The trncwashdc website was designed to direct customers/visitors to
                the TRNC office. The website content included forms and
                information for purchasing property, and other commercial acts,
                airline fares, cruises, banking transactions, tourism, hotels, laws, and
                the address of the Washington DC office and contact information.
                The trncwashdc.org website was interactive and had substantial
                visitors, Id.

         6)     TRNC in agreement with and through the HSBC defendants,
                transfers monies to and with whom it conducts business transactions
                and maintains bank accounts, to at least pay the over $300,000.00
                expenses run through its DC office that paid for the construction,
                deployment, maintenance and operation of the trncwashdc.org
                website since 1996 and pays to create manufacture, print and
                distribute maps to members of the public in the District of Columbia
                residents, and other visitors, which website and maps identify the
                property belonging to the TRNC to the detriment of the Plaintiffs
                and the Class, Id.
  	  
         7)     The TRNC has authorized a West Coast representative (who
                happens to be a business man and operating a substantial company)


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                                                                                                                                and a NY Representative all using the title of representative of the
                                                                                                                                “Turkish Republic of Northern Cyprus” that has been alleged to
                                                                                                                                advertise, sell, finance, market properties belonging to the Plaintiffs
                                                                                                                                and the Class, JA175 [D.I. 20-2,11,14 – 16]; JA179 [D.I. 30] ¶¶ 36-
                                                                                                                                57, 83-136.

                                                         8)                                                                     Mr. Akil admits that the “TRNC” office in Washington DC has been
                                                                                                                                in contact (via e-mail, telephone and the U.S. mail) with business
                                                                                                                                visitors in the District of Columbia, JA74, JA126, JA152, JA158,
                                                                                                                                JA240, JA248, JA283 [D.I. 15-2, 20, 26-1] ( Akil Affid. ¶¶ 16, 23,
                                                                                                                                25 and 31).

                                                        9)                                                                      The HSBC Bank A.S operating in the occupied areas of the Cyprus
                                                                                                                                under the “TRNC” authority and for its benefit, does facilitate the
                                                                                                                                fraudulent property scheme by using the HSBC correspondent bank
                                                                                                                                in the USA to launder monies to and from HSBC accounts including
                                                                                                                                those belonging to TRNC agents20 in the District of Columbia and
                                                                                                                                from the areas it illegally controls affecting the rights and property
                                                                                                                                of the Plaintiffs and the Class, JA179 [D.I. 30] ¶¶ 36, 40, 41, 42,43,
                                                                                                                                44, 45, 47, 48, 49,50, 51-57, 61-67, 83-136.

                                                        10)                                                                     The TRNC through its agents, use monies obtained from HSBC
                                                                                                                                USA accounts to hire individuals to create a website, with content,
                                                                                                                                and publish the content dedicated to non US Government contacts to
                                                                                                                                further the commercial activities of the TRNC that includes
                                                                                                                                banking, tourism, hotel accommodations and purchasing properties,
                                                                                                                                which properties include those belonging to the Plaintiffs and the
                                                                                                                                Class, with directed to individuals in the District of Columbia and to
                                                                                                                                the offices of the TRNC in Washington DC that customers/visitors
                                                                                                                                patronize. These customers/visitors to the District of Columbia
                                                                                                                                TRNC office are provided information about purchasing property or
                                                                                                                                tourist maps, JA16-23, JA74, JA126, JA152, JA154, JA158, JA175,
                                                                                                                                JA240, JA248, JA270, JA271, JA283 [D.I. 15-2, 20, 26-1] (Akil
                                                                                                                                Aff. ¶¶ 16, 23, 25, 31).

                                                        11)                                                                     TRNC promotes tourism, air fare and hotel accommodations which
                                                                                                                                is a commercial activity by having maps available for its customers
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  20	  Including	  Mr.	  Akil	  and	  other	  representatives	  who	  are	  used	  to	  funds	  

  activities	  unrelated	  to	  US	  Government	  contacts.	  

                                                                                                                                                                                                                                     16
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                 containing commercial information intended for distribution to
                 customers or are available for them at the “coffee table” in the
                 District of Columbia. Id.

          12)    Mr. Akil admits that visitors to the DC office seek to purchase
                 property that would presumably include property owned by
                 displaced Greek Cypriots or their families that is published,
                 advertised and marketed as owned by the TRNC, and that they were
                 allegedly “abandoned” by Greek Cypriots and that the TRNC will
                 issue title to property to any investor, and provides them the forms
                 to complete to obtain the TRNC titled property, is false deceptive
                 and unrelated to US government contacts but clearly related to the
                 claims of the Plaintiffs and the Class all occurring in the District of
                 Columbia, Id. ¶ 25. ; JA74, JA126, JA158, JA179 [D.I. 30] TAC ¶¶
                 107.

          13)    Direct affect of Money Laundering Operations in the US Banking
                 system through banks in TRNC. JA7, [D.I. 14 ¶ 48, 14-2] (SAC,
                 Exhibit B- US Dept. of Treasury- Office of Terrorism; U.S. Mission
                 to EU Statement dated August 24, 2004; US Dept. of Treasury
                 Financial Crimes Unit dated March 20, 2008).
  	  

  B.     Conspiracy Theory Based Jurisdiction allows the Acts of HSBC to be
         imputed to the TRNC to Establish Personal Jurisdiction.

         Under the "conspiracy theory of jurisdiction," "acts within the forum of one

  co-conspirator in furtherance of an alleged conspiracy, subject a non-resident co-

  conspirator to personal jurisdiction." See Mandelkorn v. Patrick, 359 F.Supp. 692,

  696 (D.D.C.1973); See Dooley v. United Technologies Corp., 786 F. Supp. 65, 78

  (D.D.C.1992). Thus, in order to succeed on the conspiracy theory, plaintiff must

  allege 1) the existence of a conspiracy of which the defendants were members and

  2) overt acts committed in the District of Columbia in furtherance of the



                                           17
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  conspiracy. See Dorman v. Thornburgh, 740 F. Supp. 875, 878 (D.D.C.1990), aff'd

  in part and appeal dismissed in part, 955 F.2d 57 (D.C.Cir. 1992); Hasenfus v.

  Corporate Air Servs., 700 F.Supp. 58, 62 (D.D.C.1988). However, "[b]ald

  speculations that defendants are alleged co-conspirators do not constitute a

  threshold showing necessary to carry the burden of establishing personal

  jurisdiction" over nonresident defendants under District of Columbia

  law. Hasenfus, 700 F. Supp. at 58.

        Plaintiffs’ and the Class have alleged sufficient facts detailing how the

  TRNC and HSBC Bank A.S or HSBC PLC through its correspondent bank HSBC

  Bank USA N.A., located in the US conspire to launder and transfer monies through

  the US banking system into Washington DC or otherwise assist the TRNC to

  maintain, operate or fund its operations worldwide and in DC that include(s) hiring

  employees, printing maps for commercial purposes, the financing of the websites

  and its false or deceptive content directly related to purchasing property and

  issuing title to property belonging to the Plaintiffs’ and the Class and that such

  properties were abandoned, JA179 [D.I. 30] ¶¶ 83-111. Moreover, the defendants

  concerted actions and agreement formed a civil conspiracy violate the Bank

  Secrecy Act from conduct in the District of Columbia or within the US as the

  illegal benefits procured from the sales of illegal property or tourism occurring on

  property belonging to the Plaintiffs and the Class are transferred to and from, by



                                            18
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  and between, HSBC A.S. or HSBC Holdings PLC through HSBC USA and to the

  TRNC Washington DC office through its HSBC bank accounts controlled or

  maintained by the TRNC, through its agents,21 in Washington DC.

                                                        Even absent minimum contacts, personal jurisdiction will still be found if

  the defendant expressly or implicitly consents to suit in the forum state. See Ins.

  Corp. of Ireland v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 703 (1982)

  (discussing "constructive consent" and noting, "[b]ecause the requirement of

  personal jurisdiction represents first of all an individual right, it can, like other such

  rights, be waived"). By hiring employees, representatives or lobbyists conducting

  commercial acts in the District of Columbia or nationwide is constructive if not

  expressed consent to the personal jurisdiction of the courts in the District of

  Columbia, especially when the TRNC obtains a certificate of occupancy

  purposefully availing itself of the laws and benefits of the District of Columbia

  while stating it is doing business as a non profit entity that assumes it relies on tax

  payers funds and federal assistance which has not been denied by the TRNC, is

  such a waiver or consent. Moreover, the TRNC’s maintenance, control and use of

  HSBC bank accounts in the District of Columbia, leasehold if not ownership of

  realty in the District of Columbia, is further proof or consent or waiver by its

  purposeful directed acts seeking the benefits of the District of Columbia, unrelated
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  21
    The TRNC agents’ actions in New York and/or California are imputed to it
  under the nationwide contacts test under FRCP 4k.

                                                                                                                                                                                                                                     19
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  to US Government Contacts that establishes personal jurisdiction.

  C.    An Unincorporated Association Can Be Sued In Its Own Name.

        The court also suggest that it is unlikely the TRNC has the capacity to be

  sued for state law claims in the District of Columbia, given the plaintiffs’ repeated

  insistence that the TRNC is an “unincorporated association” D.I. 53 ¶¶ 4-5, fn.6.

  citing Millenium Square Residential Ass’n v. 2200 M St., LLC, 952 F. Supp. 2d

  234, 243 (D.D.C. 2013) (quoting Plan Comm. v. Pricewaterhousecoopers, LLP,

  2007 WL 1191917, at *3-4 (D.D.C. Apr. 20, 2007)) (“[T]he common law of the

  District of Columbia is that an unincorporated association may not be sued in its

  own name”); see also FED. R. CIV. P. 17(b)(3).

        As the court has correctly identified the plaintiffs’ have filed a class action,

  which under Federal Rule 23 allows an unincorporated association to be sued in its

  common name when a federal question or statute is the basis of the subject matter

  as is the case here. See FED. R. Civ. P. 23(a). “One or more members of a class

  may sue or be sued as representative parties on behalf of all ...." Even the

  supplemental state law claims would be viewed differently under Rule 23, that

  would not affect this appeal. See United States v. Trucking Employers, Inc., II and

  III, 72 F.R.D. 101, 105-07 (D.D.C. 1976) and 75 F.R.D. 682, 687-91 (D.D.C.

  1977).

           Exercising personal jurisdiction over a non resident defendant by having the



                                            20
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  requisite contacts for at least one defendant or creating a defendant class for

  personal jurisdiction has been employed in civil rights cases23 and in actions

  against unincorporated associations, such as labor unions. See WRIGHT &

  MILLER. FEDERAL PRACTICE & PROCEDURE: CIVIL § 1770, at 659 (1972).

                                                        D.                                                     TRNC’s Nationwide Contacts Sufficient For Personal
                                                                                                               Jurisdiction.

                                                        Pursuant to Rule 4(k)(2), which states that service establishes jurisdiction if

  “the defendant is not subject to jurisdiction in any state’s courts of general

  jurisdiction” and “exercising jurisdiction is consistent with the United States

  Constitution and laws.” Fed. R. Civ. P. 4(k)(2). Under this provision, Plaintiffs are

  not required to show that there is no jurisdiction in any state court over the TRNC.

  See Mwani, 417 F.3d at 11. Because the TRNC “does not concede to jurisdiction in

  another state, [this C]ourt may use 4(k)(2) to confer jurisdiction.’’ Id. “Whether the

  exercise of jurisdiction is ‘consistent with the Constitution’ for purposes of Rule

  4(k)(2) depends on whether a defendant has sufficient contacts with the United

  States as a whole to justify the exercise of personal jurisdiction under the Due

  Process Clause of The Fifth Amendment.” Id. Accordingly, the inquiry in this case

  is whether the TRNC has sufficient contacts with the United States as a whole.



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  23
   Note, Damages in Class Actions: Determination and Allocation 10 B.C. INDUS.
  & COM. L. REV. 615, 619 (1969).

                                                                                                                                                                                                                                     21
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                                                        The TRNC has contacts24 throughout the US as described herein that are not

  related to US Government contacts such as in Maryland where Mr. Akil has a

  residence, the ownership, maintenance and control of HSBC bank accounts or

  funds through HSBC USA, the hiring of a website designer allegedly located in

  Towson Maryland, which website falsely publishes on the internet and media that

  it was abandoned property and now claimed it nationalized the property and

  belongs to its offices in NY where the US Government contacts exception would

  be non existent, as well as the hiring of a Turkish Cypriot NJ attorney, to serve as

  local counsel with an Indiana Law Firm in seeking to claim ownership of property

  that was smuggled and trafficked under the TRNC or its predecessor’s control

  from displaced Greek Cypriots, the Church of Cyprus. See Autocephalous Greek

  Orthodox Church, et al v. Goldberg, et al, 916 F.2d 278 (7th Cir. 1990); See also

  Autocephalous Greek Orthodox Church v. Goldberg, 717 F. Supp. 1374 (IN.

  1989).

  II.                                                   WHETHER THE COURT ERRED IN NOT FINDING PLAINTIFFS’
                                                        STATED A CAUSE OF ACTION AGAINST THE HSBC
                                                        DEFENDANTS-APPELLEES.



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  24	  The	  contacts	  include	  those	  previously	  mentioned	  and	  imputed	  HSBC	  Group	  

  contacts	  within	  the	  USA,	  including	  the	  TRNC	  bank	  accounts,	  and	  that	  HSBC	  
  USA	  serves	  as	  a	  registered	  agent	  in	  the	  US	  under	  the	  BSA	  for	  the	  HSBC	  
  Holdings,	  PLC	  and	  HSBC	  A.S	  operating	  under	  the	  control	  or	  authority	  of	  the	  
  TRNC.	  

                                                                                                                                                                                                                                     22
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                                                        The liability of the HSBC defendants and HSBC Group is supported by the

  Bank Secrecy Act, Title 31, United States Code, Section 5311 et seq. (the “BSA”),

  and its implementing regulations to address an increase in criminal money

  laundering activity through financial institutions. The BSA sets forth the minimum

  duties that were breached by the HSBC defendants that allowed transactions to

  occur affecting the rights of the Plaintiffs and the Class while furthering the

  fraudulent property scheme of the TRNC which used the US banking system to do

  so and is a source and/or the manner in which the TRNC office in Washington DC

  receives its funding, JA179 [D.I. 30] ¶¶ 42-107, 133-136. Among other things, the

  BSA requires domestic banks, insured banks, and other financial institutions such

  as HSBC to maintain programs designed to detect and report suspicious activity

  that might be indicative of money laundering, terrorist financing, and other

  financial crimes, and to maintain certain records and file reports related thereto that

  are especially useful in criminal, tax, or regulatory investigations or proceedings.

                                                        The HSBC bank in the occupied areas of Cyprus alleged to be in the

  “TRNC” uses the HSBC Group members, including HSBC Bank A.S. to launder

  the monies through the HSBC USA26 correspondent bank and has appointed the

  defendant HSBC USA to act as an agent for service of process in the United States

  as required by the BSA. Since the HSBC USA coordinates bank accounts for the
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  26	  HSBC	  USA	  is	  the	  registered	  agent	  for	  HSBC	  A.S.	  and	  HSBC	  Holdings,	  PLC	  

  under	  the	  BSA.	  

                                                                                                                                                                                                                                     23
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  TRNC (through its agents including those in Washington, DC) and transactions

  and for its benefit through these illegal transactions, then HSBC USA’s personal

  jurisdictional contacts and that of HSBC A.S which has appointed HSBC USA as

  its registered agent should be imputed to the TRNC to establish co-conspirator

  personal jurisdiction.

                                                        Through the use of alleged 3rd persons27 who are actually agents of the

  TRNC, and with the aid and assistance of the HSBC defendants and their banking

  system, the TRNC navigates it's way through the laws of the civilized world to

  harm the rights of US citizens and others consisting of the Plaintiffs’ and the Class

  while it protects outlaws. Pursuant	  to	  Title	  31,	  United	  States	  Code,	  Section	  

  5318(h)(1)	  and	  Title	  12,	  Code	  of	  Federal	  Regulations,	  Section	  21.21,	  HSBC	  

  Bank	  USA	  was	  required	  to	  establish	  and	  maintain	  an	  anti-­‐money	  laundering	  

  (“AML”)	  compliance	  program	  that,	  at	  a	  minimum,	  provides	  for:	  (a)	  internal	  

  policies,	  procedures,	  and	  controls	  designed	  to	  guard	  against	  money	  

  laundering;	  (b)	  an	  individual	  or	  individuals	  to	  coordinate	  and	  monitor	  day-­‐to-­‐

  day	  compliance	  with	  the	  BSA	  and	  AML	  requirements;	  (c)	  an	  ongoing	  employee	  

  training	  program;	  and	  (d)	  an	  independent	  audit	  function	  to	  test	  compliance	  

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  27
     Including but not limited to HSBC Bank A.S and the corresponding HSBC USA
  is obligated under the Banking Secrecy Act to perform due diligence and identify
  money laundering operations like the ones occurring to the detriment of the
  Plaintiffs and the Class while benefiting from the TRNC scheme through its US
  based bank accounts with HSBC. JA179 [D.I. 30] ¶¶ 42-136.

                                                                                                                                                                                                                                     24
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  programs.	  Pursuant	  to	  Title	  31,	  United	  States	  Code,	  Section	  5318(i)(1),	  banks	  

  that	  manage	  private	  banking	  or	  correspondent	  accounts	  in	  the	  United	  States	  

  for	  non-­‐U.S.	  persons	  must	  establish	  due	  diligence,	  and,	  in	  some	  cases,	  

  enhanced	  due	  diligence,	  policies,	  procedures,	  and	  controls	  that	  are	  designed	  

  to	  detect	  and	  report	  suspicious	  activity	  related	  to	  certain	  specified	  accounts.	  

  For	  foreign	  correspondent	  accounts,	  the	  implementing	  regulations	  require	  

  that	  the	  due	  diligence	  requirements	  set	  forth	  in	  Section	  5318(i)(1)	  include	  an	  

  assessment	  of	  the	  money	  laundering	  risk	  presented	  by	  the	  account	  based	  on	  

  all	  relevant	  factors,	  including,	  as	  appropriate:	  (i)	  the	  nature	  of	  the	  foreign	  

  financial	  institutions’	  business	  and	  the	  market	  it	  serves;	  (ii)	  the	  type,	  purpose,	  

  and	  anticipated	  activity	  of	  the	  account;	  (iii)	  the	  nature	  and	  duration	  of	  the	  

  bank’s	  relationship	  with	  the	  account	  holder;	  (iv)	  the	  AML	  and	  supervisory	  

  regime	  of	  the	  jurisdiction	  issuing	  the	  license	  for	  the	  account	  holder;	  and	  (v)	  

  information	  reasonably	  available	  about	  the	  account	  holder’s	  AML	  record.


  III.     WHETHER THE COURT ABUSED ITS DISCRETION BY
           DENYING PLAINTIFFS’ JURISDICTIONAL DISCOVERY.

           The plaintiffs requested jurisdictional discovery to “show the full extent of

  [the TRNC’s] contacts and representation made on the website, along with banking

  and information relevant and indicative of its nature of business in the District of

  Columbia, including meetings, visitors, loans, payments, articles, speaking


                                                              25
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  engagements and business.” JA7, JA16, JA19, JA20, JA23, JA54, JA74, JA126,

  JA54, JA152, JA158 [D.I. 15-2, 26-1] (Akil Aff. ¶¶ 16, 23, 25, 31); D.I. 20 ¶¶ 12-

  13, 15, 17 n.11. Such jurisdictional discovery “lies within the district court’s

  discretion,” Goodman Holdings v. Rafidain Bank, 26 F.3d 1143, 1147 (D.C. Cir.

  1994), However, discovery is appropriate “if it could produce facts that would

  affect [the court’s] jurisdictional analysis.” See Al Maqaleh v. Hagel, 738 F.3d 312,

  325-26 (D.C. Cir. 2013). Jurisdictional discovery is not appropriate, however, “in

  the absence of some specific indication regarding what facts additional discovery

  could produce.” Id. The plaintiffs therefore must “demonstrate with plausible

  factual support amounting to more than speculation or conclusory statements that

  discovery will uncover sufficient evidence” to establish personal jurisdiction. See

  Simon v. Republic of Hungary, 2014 WL 1873411, at *41 (D.D.C. May 9, 2014);

  see, e.g., El-Fadl v. Cent. Bank of Jordan, 75 F.3d 668, 671 (D.C. Cir. 1996),

  abrogated on other grounds by Samantar v. Yousef, 560 U.S. 305 (2010) (plaintiff

  was entitled to jurisdictional discovery based upon evidence of specific

  transactions by defendant bank in the forum).

        The district court abused its discretion to deny jurisdictional discovery as it

  disregarded alleged contacts demonstrating a good faith basis existed. Personal

  jurisdiction could be established from the TRNC held HSBC bank accounts or in

  Mr. Akil’s affidavit where there is sufficient evidence of non US Government



                                            26
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  contacts29. The TAC stated that, the TRNC through its agents created, owned,

  controlled and maintained a website, trncwashdc.org that is obviously directing

  web users including those in the District of Columbia to its website and offices,

  and according to Mr. Akil hired an independent contactor allegedly from Maryland

  to create the website and host the content for its office located in the District of

  Columbia, which content includes buying property belonging to displaced Greek

  Cypriots which consists of the Plaintiffs and the Class.

                                                         The TRNC further admitted through its representative that members of the

  public, presumably from the District of Columbia, do come to its office in DC that

  has nothing to do with communicating with the federal government. Furthermore,

  The TRNC admits that some of the members of the public presumably from the

  District of Columbia seek to purchase property that again is not a government

  contact. These contacts which are non governmental in nature are enough for the

  court to exercise personal jurisdiction on its face, but at a bare minimum are

  enough to establish a good faith basis to allow jurisdictional discovery on the

  HSBC bank accounts owned or operated by the TRNC through its agents, and the

  HSBC USA transactions as a correspondent bank related to the subject matter of

  the claims of the Plaintiffs and the Class that demonstrate contacts sufficient for
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  29	  TRNC	  Customers	  or	  visitors	  seeking	  to	  buy	  property,	  maps	  with	  commercial	  

  information	  being	  published	  and	  distributed	  to	  customer/visitors	  in	  the	  
  District	  of	  Columbia	  Office	  of	  the	  TRNC;	  $300,000	  being	  held	  in	  bank	  accounts	  
  maintained	  in	  HSBC	  accounts	  allegedly	  to	  operate	  its	  DC	  office.	  	  

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  this court to exercise personal jurisdiction. See Caribbean Broad. Sys. Ltd. v. Cable

  & Wireless PLC, 148 F.3d 1080, 1090 (D.C. Cir. 1998)(good faith belief); see also

  Exponential Biotherapies, Inc. v. Houthoff Buruma N.V., 638 F. Supp. 2d 1, 11

  (D.D.C. 2009) (holding that [j]urisdictional discovery … is justified only if the

  plaintiff reasonably ‘demonstrates that it can supplement its jurisdictional

  allegations through discovery.’”) (quoting Kopff v. Battaglia, 425 F. Supp. 2d 76,

  89 (D.D.C. 2006)).

        At the early stage of litigation and before discovery, plaintiffs cannot be

  expected to have complete knowledge of an alleged conspiracy or concealed facts

  of fraud in area controlled by individuals who discriminate against the Plaintiffs

  and the Class by selling their properties under the fraudulent property scheme

  described. In opposition to defendants' motions to dismiss, plaintiffs asserted that

  "[t]he Court should deny the motions to dismiss by the TRNC and HSBC

  defendants prior to discovery." D.I. 20. The District of Columbia Circuit also

  supports the Plaintiff’s position that discovery should have been provided prior to

  dismissal on jurisdiction. See Naartex Consulting Corp. v. Watt, 722 F.2d 779

  (D.C.Cir.1983), cert. denied sub nom., Naartex Consulting Corp. v. Clark, 467

  U.S. 1210 (1984) and Edmond v. United States Postal Serv. Gen. Counsel, 953

  F.2d 1398 (D.C.Cir.1992) (per curiam). In Edmond, then-Circuit Judge Ruth Bader

  Ginsburg noted the importance of affording a plaintiff "ample opportunity" to take



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  discovery relevant to personal jurisdiction before dismissing a claim against a

  defendant. However, the court did need not decide whether plaintiff was abided a

  fair opportunity to pursue discovery keyed to the issue of personal jurisdiction

  because the court found that plaintiff's claim of conspiracy is sufficient to maintain

  personal jurisdiction.

  III.   THE COURT ABUSED ITS DISCRETION BY DENYING LEAVE TO
         FILE A THIRD AMENDED COMPLAINT.

         The Plaintiffs’ requested leave to amend their complaint for a third time

  which was denied based on futility. See DI “The grant or denial of leave to amend

  is committed to the sound discretion of the district court.” See Triad at

  Jeffersonville I, LLC v. Leavitt, 563 F. Supp. 2d 1, 11 (D.D.C. 2008) (citing

  Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996)). While leave to

  amend a complaint should be freely granted when justice so requires, see FED. R.

  CIV. P. 15(a)(2), the Court may deny a motion to amend if such amendment would

  be futile, See Foman v. Davis, 371 U.S. 178, 182 (1962).

         Based on the allegations made in the TAC, the Plaintiffs’ properly alleged

  sufficient facts namely that HSBC and the “TRNC”, entered into a conspiracy, by

  agreement or assisted the other by allowing HSBC bank accounts with a nexus to

  the District of Columbia to be used to launder monies obtained through

  transactions upon property, titled by or alleged to be owned by the TRNC or its

  agents but in reality belong to the plaintiffs and the Class that can be further

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  identified with specificity from limited discovery which information is in the

  exclusive control of defendants.

                                     CONCLUSION

  For the reasons stated above the decision of the District Court should be reversed.




  Dated:        August 10, 2015                 Respectfully submitted,
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                      CERTIFICATE OF FILING AND SERVICE

           I hereby certify that on this 10th day of August, 2015, I caused this Brief of

  Appellants to be filed electronically with the Clerk of the Court using the CM/ECF

  System, which will send notice of such filing to the following registered CM/ECF

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